
The President
delivered the opinion of the Court.
ft i" undoubtedly true, that a debt due from an individual partner cannot be set off against a partnership demand. A payment indeed, to one partner, will be a payment to the company, and his receipt, unless perhaps where such payment is forbidden by the company, will bind the whole. But in this case the receipts do not specify that the payments were made for the «se of the company. The list doesbut in that, the balance is not stated, and therefore being entirely unsettled, the Court did right in refusing to let it go lo evidence to the jury.
*103If indeed, P» Trent has received the balance,, and should be unable to pay it, Scott may obtain relief against the company by getting an injunction for so mucho
Judgment affirmed (1)

 Armistead v. Butler's Adm. 1 Hen. &amp; Munf. 176. Ritchie &amp; Wales v. Moore, 5 Munf. 388

